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12
                              UNITED STATES DISTRICT COURT
13
                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
14
                                   WESTERN DIVISION
15
     DOES 1-6, on behalf of themselves and    Case No. 2:21-CV-03254-RGK-MAR
16   all others similarly situated,
                                              PLAINTIFFS’ AND DEFENDANTS’
17              Plaintiffs,                   JOINT STATUS REPORT PURSUANT
                                              TO THE COURT’S SEPTEMBER 15,
18                     v.                     2021 ORDER [DOCKET NO. 51]
                                              REGARDING DEFENDANTS’
19   UNITED STATES OF AMERICA, and            MOTION TO DISMISS THE
     MERRICK GARLAND, in his official         COMPLAINT FOR LACK OF
20   capacity as United States Attorney       SUBJECT MATTER JURISDICTION
     General,                                 AND FAILURE TO STATE A CLAIM
21                                            UPON WHICH RELIEF CAN BE
                Defendants.                   GRANTED
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 1                                  JOINT STATUS REPORT
 2         Plaintiffs Does 1-6 (collectively, “Plaintiffs”) and Defendants United States of
 3   America, and Merrick Garland, in his official capacity as United States Attorney General
 4   (collectively, “the government”) respectfully submit this joint status report pursuant to
 5   the Court’s September 15, 2021 order (docket no. 51) regarding the government’s
 6   motion to dismiss the complaint for lack of subject matter jurisdiction and failure to state
 7   a claim upon which relief can be granted.
 8                                                I.
 9              PLAINTIFFS’ SECTION OF THE JOINT STATUS REPORT
10         Plaintiffs do not dispute that when a civil forfeiture proceeding has been filed by
11   the government, the claimant has adequate remedies to challenge any Fourth
12   Amendment violation regarding the defendant seized property within that proceeding.
13   See ECF 51, p. 9. Thus, Plaintiffs’ Rule 41(g) claims would be moot if a civil forfeiture
14   complaint is filed against the property seized from Plaintiffs’ safe deposit box numbers
15   5006, 4105, 6710, 4300, 400 and/or 40.
16         On the other hand, if the government did not file a civil forfeiture complaint
17   against any property Plaintiffs allege were seized from the above boxes, then that
18   property must be returned. That necessarily would include the gold Plaintiff Does 1 and
19   2 stored in box #5006 and the $20,000 in currency they stored in box #4105, for which
20   the FBI did not serve them with a notice of seizure. Thus, if the government has not
21   filed complaints against that property, Plaintiff Does 1 and 2 still will have pending,
22   viable Rule 41(g) claims as to those items of property.
23         Plaintiffs also note that the Court did not dismiss any of their claims without leave
24   to amend their complaint. Depending on the Court’s final ruling as to the motion to
25   dismiss Plaintiffs’ current claims, they would request the opportunity to have leave of
26   Court to file an amended complaint 1) to add one or more non-anonymous Plaintiffs,
27   and/or 2) to add or revise one or more causes of action. Plaintiffs’ lead counsel will be
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 1   out of the country until October 11th, and thus would respectfully request the Court to
 2   grant Plaintiffs 30 days after his return to file such a motion.
 3                                                II.
 4        THE GOVERNMENT’S SECTION OF THE JOINT STATUS REPORT
 5         The government respectfully submits this response to the three questions raised in
 6   the Court’s September 15, 2021 order.
 7         A.     The Status Of Any Judicial Forfeiture Proceedings Against Plaintiffs’
 8                Property.
 9         The government has filed forfeiture complaints against the property each plaintiff
10   (i.e., plaintiff Doe 1, Doe 2, Doe 3, Doe 4, Doe 5 and Doe 6) seeks to have returned that
11   the government has in its possession. As to any other property plaintiffs seek to have
12   returned, the government does not possess those properties and therefore can neither
13   return those properties nor file a forfeiture action against them.
14                1.     The Status Of Forfeiture Complaints The Government Has Filed
15                       Against Property That The Government Has In Its Possession.
16         With respect to the property within the government’s possession, the status of the
17   lawsuits, which were all filed September 17, 2021, is as follows.
18         As to plaintiffs Doe 1 and 2 who seek to have the currency in box 5006 returned,
19   the government has filed a judicial forfeiture action against the $274,030.00 seized from
20   box 5006. Plaintiffs’ complaint in instant case ¶ 11a and b (docket no. 1); Complaint in
21   United States of America v. $274,030.00 in U.S. Currency, Case No. 2:21-cv-07481
22   (docket no. 1, at ¶¶ 5 and 20). As to plaintiff Doe 3 who seeks to have the currency in
23   box 6710 returned, the government has filed a judicial forfeiture action against the
24   $199,950.00 seized from box 6710. Plaintiffs’ complaint in instant case ¶ 11c (docket
25   no. 1); Complaint in United States of America v. $199,950.00 in U.S. Currency, Case
26   No. 2:21-cv-07487 (docket no. 1 at ¶¶ 5 and 20). As to plaintiff Doe 4 who seeks to
27   have the currency in box 4300 returned, the government has filed a judicial forfeiture
28   action against the $330,020.00 seized from box 4300. Plaintiffs’ complaint in instant

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 1   case ¶ 11d (docket no. 1); Complaint in United States of America v. $330,020.00 in U.S.
 2   Currency, Case No. 2:21-cv-07472 (docket no. 1 at ¶¶ 5 and 20).
 3         As to plaintiff Doe 5 who seeks to have the currency in box 400 returned, the
 4   government has filed a judicial forfeiture action against the $570,000.00 seized from box
 5   400. Plaintiffs’ complaint in instant case ¶ 11e (docket no. 1); Complaint in United
 6   States of America v. $570,000.00 in U.S. Currency, Case No. 2:21-cv-07463 (docket no.
 7   1 at ¶¶ 5 and 20). As to the final plaintiff, who is Doe 6, who seeks to have the currency
 8   in box 40 returned, the government has filed a judicial forfeiture action against the
 9   $1,194,750.00 seized from box 40. Plaintiffs’ complaint in instant case ¶ 11f (docket no.
10   1); Complaint in United States of America v. $1,194,750.00 in U.S. Currency, Case No.
11   2:21-cv-07477 (docket no. 1 at ¶¶ 5 and 20).
12         In light of the filings of these judicial actions, and as discussed below, the motion
13   to dismiss should be granted.
14                2.     Property Plaintiffs’ Seek To Have Returned That The
15                       Government Does Not Possess And Therefore Cannot File A
16                       Forfeiture Complaint Against Any Such Property.
17         The government has previously shown that, except for the items named as
18   defendants in the above-referenced judicial forfeiture actions, the government has no
19   other items from the Does boxes. Docket No. 48 (government’s reply brief in support of
20   motion to dismiss) at 6:3-8, referencing the Zellhart Decl. (docket 42-1) at ¶¶ 2-4. Those
21   items that the government does not have would include the items plaintiffs discuss in
22   their section of the joint report - - namely, the gold plaintiffs Doe 1 and 2 claim to have
23   stored in box 5006 and the $20,000.00 they claim to have stored in box 4105. Zellhart
24   Decl. (docket 42-1) at ¶ 2. In light of the fact that the government does not possess these
25   items, and as discussed below, the motion to dismiss should be granted.
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 1         B.     The Impact Of The Judicial Forfeiture Proceedings On The Court’s
 2                Ability To Exercise Jurisdiction Over Plaintiffs’ Rule 41(g) Claim.
 3         Plaintiffs agree that the filing of a judicial forfeiture action against property seized
 4   from their safety deposit boxes moots their Rule 41(g) claims, and that a district court
 5   can properly deny equitable jurisdiction in this circumstance because plaintiffs have an
 6   adequate remedy at law to challenge any Fourth Amendment violation in the judicial
 7   forfeiture proceeding. However, plaintiffs also note that if the government did not file a
 8   civil forfeiture complaint against any property that was seized, then the government must
 9   return that property.
10         As the government has previously noted (and repeated above), it does not have
11   any property except for the property that is named as defendants in the judicial civil
12   forfeiture actions. To the extent plaintiffs believe the government has seized any
13   additional property, Rule 41(g) is not the vehicle for a party to seek property that the
14   government does not have. Docket No. 48 (government’s reply brief in support of
15   motion to dismiss) at 6:3-8:3; see Search and Seizure of Box No. 8309 at U.S. Private
16   Vaults v. United States of America, Case No. 2:21-cv-03554, Docket No. 28 at 5,
17   footnote 1. In addition, even if Rule 41(g) was an appropriate vehicle to seek recovery
18   of these other items, and it is not, plaintiffs would have to file their claim based upon the
19   Federal Torts Claims Act (the “FTCA”) and exhaust their administrative remedies (and
20   so allege in their complaint), in order to establish subject matter jurisdiction under the
21   FTCA. Docket No. 48 (government’s reply brief in support of motion to dismiss) at
22   7:20-8:3.
23         Accordingly, and for the reasons set forth in the government’s motion to dismiss
24   briefing, the government respectfully submits that plaintiffs’ Rule 41(g) claim should be
25   dismissed, because the government has filed a civil forfeiture complaint against the
26   property found within plaintiffs’ boxes (and plaintiffs agree that to that extent their claim
27   does not lie) and, to the extent plaintiffs contend there was anything else in those boxes,
28   Rule 41(g) is not the vehicle to seek relief.

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 1         C.     The Impact Of The Judicial Forfeiture Proceedings On Plaintiffs’
 2                Ability To Obtain Injunctive Relief In Connection With Their First
 3                Claim.
 4         As set forth above, the government has filed forfeiture complaints against the
 5   property within its possession. The only relief plaintiffs seek in their first claim is an
 6   injunction for the return of their property, or exactly what they seek in their Rule 41(g)
 7   claim. As with the Rule 41(g) claim, plaintiffs have an adequate remedy at law because
 8   they can seek the return of the property in the pending judicial forfeiture cases, and the
 9   injunctive relief sought by plaintiffs’ first claim is therefore unavailable. Accordingly,
10   plaintiff’s first claim should be dismissed.
11         In addition to the authorities set forth in the government’s motion to dismiss
12   Docket No. 48 (government’s reply brief in support of motion to dismiss) at 7:20-10:25,
13   the government also offers the following to show that plaintiffs have an adequate remedy
14   at law and therefore their first claim which seeks only injunctive relief, namely the return
15   of their property, which they also seek in their Rule 41(g) claim is properly dismissed.
16   Beacon Theatres, Inc. v. Westover, 359 U.S. 500, 506-07 (1959) (“The basis of
17   injunctive relief in the federal courts has always been irreparable harm and inadequacy
18   of legal remedies”) (footnote omitted); Weinberger v. Romero-Barcelo, 456 U.S. 305,
19   311 (1982) (“It goes without saying that an injunction is an equitable remedy. . . . An
20   injunction should issue only where the intervention of a court of equity is essential in
21   order effectively to protect property rights against injuries otherwise irremediable. The
22   Court has repeatedly held that the basis for injunctive relief in the federal courts has
23   always been irreparable injury and the inadequacy of legal remedies”) (citations and
24   internal quotation marks omitted); Stanley v. University of Southern California, 13 F.3d
25   1313, 1320 (9th Cir. 1994).
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 1         D.     Other Issue Raised By Plaintiffs In Their Section Of This Joint Status
 2                Report.
 3         Finally, the government notes that the Court’s September 15, 2021 order did not
 4   grant plaintiff leave to amend their complaint, either to add new parties or to revise one
 5   or more of their causes of action, as they request in their section of this joint report.
 6   Accordingly, the government respectfully submits plaintiffs’ request in this joint report
 7   to do so should be denied.
 8                                                   Respectfully submitted,
 9   Dated: September 27, 2021                       LAW OFFICE OF ERIC HONIG
                                                     A Professional Law Corporation
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12                                                   DEVIN BURSTEIN
13
                                                          /s/ Eric Honig            ____________
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     Dated: September 27, 2021                       TRACY L. WILKISON
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                                                           /s/             ______________
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